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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

EQUAL EMPLOYMENT OPPORTUNITY )
COMMISSION,                                         )
                                                    )
              Plaintiff,                            )
                                                    )      Civil Action No.
v.                                                  )      4:17cv624-BRW
                                                    )
R WINGS R WILD d/b/a                                )
BUFFALO WILD WINGS,                                 )
                                                    )
              Defendant.                            )

                           MOTION FOR STAY AND EXTENSIONS

       Plaintiff Equal Employment Opportunity Commission (EEOC) moves to stay this

litigation and extend all deadlines due to the lapse in appropriations and government shutdown.

       1.     Federal government appropriations lapsed at midnight on December 21, 2018, and

the EEOC is again shut down.

       2.     As noted in its previous motion (Doc. # 18), given the Antideficiency Act, 31

U.S.C. § 1341 et seq., the EEOC is prohibited from litigating this matter during the shutdown

except for a four-hour wind-down on December 26, 2018.

       3.     Therefore, the EEOC seeks an order staying this litigation for the duration of the

shutdown and extending all deadlines for the same duration as the shutdown.

       4.     Counsel for the EEOC has contacted Defendant’s counsel regarding this motion,

and Defendant does not oppose this motion.

       WHEREFORE, Plaintiff requests this Court enter an Order staying this litigation and

extending all deadlines by the same duration as the shutdown.
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                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document was
electronically filed with the Clerk of the Court using the CM/ECF system, which shall send
notification of such filing to the following:

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December 26, 2018                                          s/Pamela B. Dixon
Date                                                       PAMELA B. DIXON




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